  1
            Law Offices of
  2   MICHAEL W. CARMEL, LTD.
         80 East Columbus Avenue
  3    Phoenix, Arizona 85012-2334
      Telephone: (602) 264-4965
  4   Arizona State Bar No. 007356
      Facsimile: (602) 277-0144
  5   E-mail: Michael@mcarmellaw.com
  6   Attorney for Debtors
  7                        IN THE UNITED STATES BANKRUPTCY COURT

  8                                FOR THE DISTRICT OF ARIZONA

  9    In re:                                          Chapter 11 Proceedings
 10    PARAMOUNT BUILDING SOLUTIONS,                   Case No. 2:17-bk-10867-EPB
       LLC,
 11            Debtor.
 12    In re:                                          Case No. 2:17-bk-10868-DPC
 13    CLEANING SOLUTIONS, LLC,
 14                    Debtor.
                                                       Case No. 2:17-bk-10869-BKM
 15
       In re:
 16
       JMS BUILDING SOLUTIONS, LLC,
 17
                       Debtor.
 18                                                    Case No. 2:17-bk-10870-EPB
                                                       (Joint Administration Requested)
 19    In re:
                                                       CERTIFICATE OF SERVICE
 20    STARLIGHT BUILDING SOLUTIONS, LLC,

 21                    Debtor
 22
 23
                I, Michael W. Carmel, hereby certify as follows:
 24
                On November 2, 2017, I caused to be sent, via U.S. Mail, postage pre-paid, a copy
 25
 26   of the “Order Setting Bar Date for Filing Proofs of Claim as Amended by the Court” [DE

 27   #109] to all creditors and parties-in-interest on the list attached hereto as Exhibit A.
 28


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  1         DATED this 2nd day of November, 2017.
  2
                                      MICHAEL W. CARMEL, LTD.
  3
                                    /s/Carmel, M.W. (007356)
  4                                    Michael W. Carmel
                                       80 East Columbus Avenue
  5                                    Phoenix, Arizona 85012-2334
                                       Attorney for Debtors
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